Case 1:18-cv-23102-JEM Document 21 Entered on FLSD Docket 02/13/2019 Page 1 of 1



                        UN ITED STA TES D ISTRICT C OU RT FO R TH E
                             SO U TH ERN D ISTR ICT O F FLO RID A
                                      M IA M ID IV ISION
                  Case N um ber: I8-Z3IOZ-CIV-M A RTIN EZ-O TA ZO -REY ES

   FERYA L M OH A M M A D and W A JDA N
   M OHA M M A D ,
        Plaintiffs,

   VS.

   SYN CHRON Y FIN A N CIA L d/b/a
   SYN CHRON Y BAN K ,
        Defendant.
                                            /

                  FIN AL O R DER O F DISM ISSA L W ITH PREJU D IC E A N D
                   ORDER DENYING ALL PENDING M OTJONS AS M OO T
          THIS M ATTER isbefore the Courtupon theparties'JointStipulation ofD ism issalwith

   Prejudice(ECFNo.20).Itis:
          ADJUDGED thatthisaction isDISM ISSED with prejudice.A1lpartiesshallbeartheir
   ow n fees and costs. Itisalso:

          ADJUDGED thatallpendingm otionsin thiscase areDENIED AS M OOT,and thiscase

   is CLO SED .

          D ON E AN D O RDERED in Cham bersatM iam i,Florida,this $
                                                                  %.dayofFebruary,2019.
                                                                 ..-




                                                            e


                                                  JOS    .M ARTINE
                                                  17N 1 ED STA TES DISTRICT JU DG E

   Copiesprovidedto:
   M agistrate Judge Otazo-R eyes
   A l1CounselofRecord
